            Case 2:21-cr-00109-wks Document 28 Filed 12/09/21 Page 1 of 1




                                 UNITED STATES DISTRICT COURT
                                           FOR THE                           2021 DEC -9 PH I : It I
                                     DISTRICT OF VERMONT


UNITED STATES OF AMERICA,                               )
     Plaintiff,                                         )
                                                        )
       V.                                               )      Docket No.

JOHN GRIFFIN,
                                                        )
                                                        )
                                                                          a~ a1·er ✓ 10 q- /
     Defendant.                                         )


               MOTION TO SEAL INDICTMENT AND ARREST WARRANT

       The United States of America, by its attorney, Jonathan A. Ophardt, Acting United States

Attorney for the District of Vermont, hereby moves this Court to seal the Indictment, the Arrest

Warrant, this motion, any order granting this motion, and the docket sheet in this case, except

insofar as necessary to effect the arrest of defendant, to protect the safety of the arresting officers

and prevent the flight of the defendant.

        WHEREFORE, the United States requests that the Court grant this motion to seal the

Indictment, Arrest Warrant, this motion, any order granting this motion, and the docket sheet

until the arrest of defendant.

        Dated at Burlington, in the District of Vermont, this 9th day of December, 2021.

                                                 UNITED STATES OF AMERICA

                                                 JONATHAN A. OPHARDT
                                                 Acting United States Attorney


                                           By:
                                                 Michael P. Drescher
                                                 Assistant U.S. Attorney
                                                 P.O. Box 570
                                                 Burlington VT 05402-0570
                                                 (802) 951-6725
